10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

26
27

28

 

 

    
   

UWZ'FNBREQD U}es

 
 
  

LERECEIVED
…SERV
NSEL/PARTIES OF RECORD

Case 2:16-cV-02260-RFB-N.]K Documentl Fi|e

  

Deborah Sanzaro and Michael Sanzaro
361)9 lovemess G<rove Ave.
NorthLas.Vegas, NV 89081

(702) 888-3699

Plaintiffs In Proper Person

     
 

cLERK us msmm
couRr
BY: Distmct 0F NEVADA
\

\DEPUTY

 
      

UNITED STATES DISTRICT COURT
For the District of Nevada

DEBORAH S.A_NZARO and
~HCHAEL SANZARO, , _ 2:16-cv-02260-RFB-NJK
Plamtiffs,
vs

BENEFITCONNECT l CoBRA and
DoEs 1 through 5.
ueteram.

 

PLA]NTIFF’S COMPLAINT AGAINST DEFENDANTS FOR IMPROPER TERMINATION
OF COBRA BENEFITS, BREACH OF FEDERAL AND NEVADA STATUTES, BREACH OF
CONTRACT AND NEGLIGENCE COMMITTED AGAINST PLAlNTIFFS

 

' '~ S DEBORAH SANZARO and MICHAEL SANZARO, for causes of action
against DEFENDANTS BENEFITCONNECT/COBRA and DOES 1 through 5, submits the
following Complaint.

GENERAL ALLEGATIONS

1. Plaintiffs Deborah and Michael Sanzaro, were at all times relevant herein, a resident of
the State of Nevada, County of Clark. Plaintiffs resident address is 3609 lnverness Grove
Avenue, North Las Vegas, Nevada, 89081.

2. Plainxiffs are infonned and believe and §zerewpnn.a>llege, that defendant BeneiitConnect |
Cobra is at all times herein mentioned a corporation licensed to do and doing business in Clark
County, Nevada.

3. Plaintiffs are informed and believe, mind weapon allege that defendmrts are legally

responsible in some manner for the matters herein alleged, and are legally responsible in some

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

26

27

28

 

 

Case 2:16-cV-02260-RFB-N.]K Document 1 Filed 09/27/16 Page 2 of 8

manner for causing the injuries and damages to plaintiffs as hereinafter alleged.
4. Plaintiffs are informed mid-believe~, and thereupon allege that deferment Beiiefit€oiniectl
Cobra mailing addresss is: P.O. Box 1185
Pittsburgh, PA 15230 (877) 29-26272

5. Plaintiifs do not know the true names or legal capacities of defendants sued herein as
Does 1 through 5 and therefore sue said defendants by such fictitious names.
6. Plaintiffs are informed and believe, and thereupon allege, that each of the defendants
designated herein as a DOE is legally responsible in some manner for the matters herein alleged,
and is legally responsible iii some mminer for causing the injuries and damages te plaimrHs as
hereinafter alleged.
7. Plaintiffs are informed and believe and thereupon allege, that each defendant, whether
specihcaiiy named or designated herein as a )DGE, Was the agent, representative, servant,
employee, principle, joint venturer, co-conspirator, management company and/or representative
of each of the remaining co-defendants, and in doing the acts hereinafter alleged, was acting
Within the course and scope of said agency, employment, joint venture, conspiracy, agreement,
management company ameemem and for service with the approval, knowlede amherity,
permission and/or consent of the remaining defendants.
8. JURISDICTION

(1) This is an action arising under Federal Law, the Consolidated Omnibus Budget
Reconci}iatirm Act of 1985 {CO.»BRA}.

(2) This is an action arising under the Nevada Revised Statute 689B et seq.

(3) This is an action arising under the Nevada Revised Statute 687B et seq.

(4) This is an action arising under the Nevada Revised Statute 695D et seq;.

l

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

26

27

28

 

 

Case 2:16-cV-02260-RFB-N.]K Document 1 Filed 09/27/16 Page 3 of 8

FIRST CAUSE OF ACTION
BREACH OF STATUTGRY DUTY Q?EDERAL AND STATE)
9. Statutory law imposes a duty on defendants to act reasonably and according to the laws in
the performance of their duties. On January 13, 2015, defendants notified plaintiffs that
plaintist Cobra benefits were cancelled for non-payment of monthly premiums. On January
31, 2015 plaintiffs filed their first level appeal of the decision Defendants breached their
statutory duty in failing to respond to plaintiffs first appeal.
SECOND CAUSE OF ACTION
BREACH OF STATUTORY DUTY (FEDERAL AND STATE)
10. Statutory law imposes a duty on defendants to act reasonably and according to the laws in
the performance of their duties. On January 13, 2015, defendants notified plaintiffs that
plaintiffs Cobra benefits were cancelled for non-payment of monthly premiums. On March 16,
2015 plaintiffs filed their second level appeal of the dec`ision. Defendants breached their
statutory duty in failing to respond to plaintiffs second appeal
THIRD CAUSE OF ACTION
BREACH OF CONTRACT
ll. Contract law imposes a duty on defendants to act reasonably and according to the laws in
the performance of their duties. On January 13, 2015, defendants notified plaintiffs that
plaintiffs Cobra-benefits were cancelled )for non-payment of monthly premiums. On January
31, 2015 plaintiffs filed their first level appeal of the decision Defendants breached their
contractual duty in failing to respond to plaintiffs first level appeal.
FOURTH CAUSE OF ACTION

BREACH OF CONTRACT

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 2:16-cV-02260-RFB-N.]K Document 1 Filed 09/27/16 Page 4 of 8

12. Contract law imposes a duty on defendants to act reasonably and according to the laws in
the performance of their duties. On January 13, ZGlS', defendants notified plaintiffs that
plaintiffs Cobra benefits Were cancelled for non-payment of monthly premiums. On March 16,
2015 plaintiffs filed their second level appeal of the decision Defendants breached their
contractual duty in failing to respond/to plaintiffs secoad:)level appeal
'FIPTH CAUSE OF ACTION
BREACH OF STATUTORY DUTY (FEDERAL AND STATE)

13. Statutory law imposes a duty on defendants to act reasonably and according to the laws in

 

the performance of their duties. Qii Jarnimy l$, 20115, ` ~` laws nonM plaintiffs that
plaintiffs Cobra benefits were cancelled for non-payment of monthly premiums On January
31, 2015 plaintiffs filed their first level appeal of the decision Plaintiffs appeal Was based on
l\/lrs. Sanzaro’s emergency medical situation. While Mrs. Sanzaro was visiting her daughter iii
Indiana, she suffered high pain levels requiring hospitalization for several weeks. Because of
Mrs. Sanzaro’s extremely high pain levels while she was hospitalized for several weeks, she was
incapable of making any decisions. Defendants breached their statutory duty in denying
plaintiffs first level appeal by failing to mature and/or failing to emisider Mrs. S'anzaro’s
incapacity while hospitalized as an exemption or Waiver to Cobra’s 30 day grace period.
SIXTH CAUSE OF ACTION
BREACH OF STATUTORY DUTY (FEDERAL AND STATE)

14 Statutory law imposes a duty on defendants to act reasonably and according to the laws in
the performance of their duties. On January 13, 2015, defendants notified plaintiffs that

plaintiffs Cobra benefits were cancelled for non-payment of monthly premiums On March 16,

2015 plaintiffs filed their secondi level appeal of the decision Pliaintiifs appeal was based on

 

10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 2:16-cV-02260-RFB-N.]K Document 1 Filed 09/27/16 Page 5 of 8

Mrs. Sanzaro’s emergency medical situation. While Mrs. Sanzaro was visiting her daughter in
Indiana, she suffered high pain levels requiringhespital`raatwn far several weeks. Beeause of
Mrs. Sanzaro’s extremely high pain levels while she was hospitalized for several weeks, she was
incapable of making any decisions. Defendants breached their statutory duty in denying
plaintiffs second level appeal by failing to inquire and/or failing to consider Mrs. Sanzaro’s
incapacity while hospitalized as an exemption or waiver to Cobra’s 30 day grace period.
SEVENTH CAUSE OF ACTION
BREACH OF STATUTORY DUTY (FEDERAL AND STATE)
15. Statutory law imposesaduty ondefendeartstoactreasombly and according tothe Pawsin
the performance of their duties. On January 13, 2015, defendants notified plaintiffs that
plaintiffs Cobra benefits were cancelled for non-payment of monthly premiums. On January
3l, 2015 plaintiffs filed their first level appeal of the decision. Defendants breached their
statutory duty by failing to consider and/or granting the tolling of time to be added to the 30 day
grace period to pay plaintiffs monthly Cobra premium due to Mrs. Sanzaro‘s incapacity while
hospitalized
EIGH"[H CAUSE ()F ACTIQN
BREACH OF STATUTORY DUTY (FEDERAL AND STATE)

16. Statutory law imposes a duty on defendants to act reasonably and according to the laws in
the performance of their darden 021 January 13, 2015, defendants notified plaintiffs that
plaintist Cobra benefits were cancelled for non-payment of monthly premiums. On March 16,
2015 plaintiffs filed their second level appeal of the decision. Defendants breached their
statutory duty by failing to consider and/or granting the tolling of time to be added to the 30 day

grace period to pay plaintiffs monthly Cobra premium due to Mrs. Sanzaro‘s incapacity while

S,

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

26

27

28

 

 

Case 2:16-cV-02260-RFB-N.]K Document 1 Filed 09/27/16 Page 6 of 8

hospitalized
NINTH CAUSE OF ACTION
BREACH OF STATUTORY DUTY (FEDERAL AND STATE)
17. Statutory law imposes a duty on defendants to act reasonably and according to the laws in
the performance of their duties On January 13, 2015, defendants notified plaintiffs that
plaintiffs Co`bra benefits were cancelled for non-payment of monthly premiums On September
13, 2015, plaintiffs sent a letter to the defendants that plaintiffs appeal Was not responded to.
Defendants failed to respond to the plaintiffs letter. Defendants breached their statute duty by
failing to respond to plaintiffs letter regarding plaintiffs appeal
TENTH CAUSE OF ACTION
BREACH OF STATUTORY DUTY (FEDERAL AND STATE)
918 Stawbory law imposes a duty on defendants to act reasonably and according to the laws in
the performance of their duties On January 5, 2015 , defendants notified plaintiffs that plaintist
Cobra benefits will expire on February 28, 2015. On January 31, 2015, plaintiffs sent a notice
that both plaintiffs were disabled and would like to extend their coverage of Cobra. Defendants
breached their statutory dtxty by refusing to extend piaintUs coverage for the disabled
ELEVENTH CAUSE OF ACTION
BREACH OF CONTRACT
19. Contract law imposes a duty on defendants to act reasonably and according to the
)eontraet. !On January 5, 2015, defendants neititied zale§nntffs that plaintiffs Cobra benefits will
expire on February 28, 2015. On January 31, 2015, plaintiffs sent a notice that both plaintiffs
were disabled and would like to extend their coverage of Cobra. Defendants breached their

contractual duty by refusing to extend planniffs coverage for the disabled

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 2:16-cV-02260-RFB-N.]K Document 1 Filed 09/27/16 Page 7 of 8

TWELFTH CAUSE OF ACTION
BREACH OF STATUTORY DUTY (NEVADA REVISED STATUTE)
20. Statutory law imposes a duty on defendants to act reasonably and according to the laws in
the performance of their duties. On January 5, 2015, defendants notified plaintiffs that plaintiffs
Cobra.=bene@ts will expire on /Febniary 28, Z(MS. fUndea »tlie provisions of Nevada Revised
Statute 687B.420 defendants failed to provide plaintiffs with a 60 day notice that their Cobra
insurance would expire.
TH[RTEENTH CAUSE OF ACTION
NEGLIGENCE
21. Contract and statutory law imposed a duty on defendants to act reasonably and according
to Federal and Nevada State statutes, case laws and contract in the performance of their duties.
On or aboiat November 22, 2015, plaiaiti;ffs cantaewd defendants by phone and informed
defendants that plaintiH`s have never received a response to their appeals Defendants informed
plaintiffs that the mistake was the post office’s because their records indicated that the response
to the appeals was mailed Plaintiffs requested another notice be mailed Defendants refused
Defendants were negligent in the performance of their duties which caused injury to the
plaintiffs
FOURTEENTH CAUSE OF ACTION
NEGLIGENCE
22. Crniitraot and stamtory law imposed a duty on defendants to aca reasonably and according
to Federal and Nevada State statutes, case laws and contract in the performance of their duties.
On December l, 2015, plaintiffs mailed a letter to defendants explaining that when a phone call

was placed on November 22, 2015, the person would not scindia copy of their denial oftheir

 

10
11
12
13
14
15'
16
17
18
19
20
21
22
23
24
25
26
27

28

 

 

Case 2:16-cV-02260-RFB-N.]K Document 1 Filed 09/27/16 Page 8 of 8

appeal because it was a postal error, not theirs. In the letter, plaintiffs asked for a copy of the
reason their appeal was denied Defendants failed to respond to this letter. Defendants
continually refuse to inform plaintiffs why their appeal was denied Defendants were negligent
in the performance of their duties which caused injury to the plaintiffs
>FliF'l`EENl`I-I CAUSE OF ACTION
NBGMGENCE

23. Contract and statutory law imposed a duty on defendants to act reasonably and according
to Federal and Nevada State statutes, case laws and contract in the performance of their duties.
Defendants were negligent in the performance of their duties which scm injury to tire
plaintiffs The defendants were negligent for breaching their statutory and contractual duties for
the Causes of Action noted in this Complaint.
24. Plaiinaift’s wages are estimated at $`)100,00@ for the defendants breach of Federal and
State Statutes, case laws, contract and negligence noted in Causes of Action One through
Fourteenth.
WHEREFORE, plaintiffs pray for judgment against defendants as follows:

1. Generalandeompensatorydamagesaeeordingtoproofbut,inanamount
estimated to be not less than $100,000;

2. An award of attomey’s fees (if any) and costs of suit incurred herein;

3. ,For such other mrdfiirther relief Jas ethe’>Comit deems just and proper.

Dated: September 20, 2016 M
W\§aw%@ lara/um

Deborah Sanzaro Michael Sanzard

 

